     Case 1:20-cv-00138-DAD-BAM Document 1 Filed 01/27/20 Page 1 of 10

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 6
                                 UNITED STATES DISTRICT COURT
 7
                               EASTERN DISTRICT OF CALIFORNIA
 8

 9
      MARK K. WELCH,                              Case No.
10
                        Plaintiff,                COMPLAINT FOR DAMAGES
11
            v.                                    1. VIOLATION OF THE FAIR DEBT
12                                                COLLECTION PRACTICES ACT, 15 U.S.C.
                                                  §1692 ET SEQ.
13    MCNEIL & MEYERS RECEIVABLES
      MANAGEMENT GROUP, LLC,                      2. VIOLATION OF THE TELEPHONE
14                                                CONSUMER PROTECTION ACT, 47 U.S.C.
                        Defendant.                §227 ET SEQ.
15
                                                  3. VIOLATION OF THE ROSENTHAL FAIR
16                                                DEBT COLLECTION PRACTICES ACT,
                                                  CAL. CIV. CODE §1788 ET SEQ.
17
                                                  DEMAND FOR JURY TRIAL
18

19
                                             COMPLAINT
20
           NOW comes MARK K. WELCH (“Plaintiff”), by and through his attorneys, WAJDA LAW
21

22   GROUP, APC (“Wajda”), complaining as to the conduct of MCNEIL & MEYERS

23   RECEIVABLES MANAGEMENT GROUP, LLC (“Defendant”), as follows:
24                                      NATURE OF THE ACTION
25      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act
26
     (“FDCPA”) under 15 U.S.C. §1692 et seq., the Telephone Consumer Protection Act (“TCPA”)
27

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     Case 1:20-cv-00138-DAD-BAM Document 1 Filed 01/27/20 Page 2 of 10

 1   under 47 U.S.C. §227 et seq., and the Rosenthal Fair Debt Collection Practices Act (“RFDCPA”)
 2   pursuant to Cal. Civ. Code §1788 et seq., for Defendant’s unlawful conduct.
 3
                                                 JURISDICTION AND VENUE
 4
           2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter
 5
     jurisdiction is conferred upon this Court by 15 U.S.C §1692, 47 U.S.C §227, 28 U.S.C. §§1331 and
 6

 7   1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists for

 8   the state law claim pursuant to 28 U.S.C. §1367.

 9         3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business
10
     in the Eastern District of California and a substantial portion the events or omissions giving rise to
11
     the claims occurred within the Eastern District of California.
12
                                                        PARTIES
13
           4. Plaintiff is a consumer over-the-age of 18 residing in Fresno County, California, which is
14

15   located within the Eastern District of California.

16         5. Plaintiff is a “person,” as defined by 47 U.S.C. §153(39).
17         6. Defendant promotes itself as “one of the most highly respected collection agencies in the
18
     south.”1 Defendant is a limited liability company organized under the laws of the State of Louisiana.
19
     Defendant’s principal place of business is located at 3525 N. Causeway Blvd., Suite 833, Metairie,
20
     Louisiana 70002. Defendant regularly collects from consumer in the State of California.
21

22         7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

23         8. Defendant acted through its agents, employees, officers, members, directors, heirs,

24   successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all times
25   relevant to the instant action.
26
                                       FACTS SUPPORTING CAUSES OF ACTION
27

28   1
         http://mcneilmeyers.com/Services.html
                                                            2
     Case 1:20-cv-00138-DAD-BAM Document 1 Filed 01/27/20 Page 3 of 10

 1      9.   Several months ago, Plaintiff obtained a personal loan from NetCredit to purchase of
 2   household and other consumer goods and/or services.
 3
        10. Due to financial hardship, Plaintiff fell behind on his scheduled payments to NetCredit,
 4
     thus incurring debt (“subject debt”).
 5
        11. Thereafter, NetCredit placed the subject debt with Defendant for collection.
 6

 7      12. Around April 2019, Plaintiff began receiving calls to his cellular phone, (559) XXX-9450,

 8   from Defendant.

 9      13. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and
10
     operator of the cellular phone ending in -9450. Plaintiff is and always has been financially
11
     responsible for the cellular phone and its services.
12
        14. Defendant has primarily used the phone number (800) 571-4396 when placing collection
13
     calls to Plaintiff’s cellular phone, but upon belief, Defendant has used other numbers as well.
14

15      15. Upon information and belief, the above-referenced phone number ending in -4396 is

16   regularly utilized by Defendant during its debt collection activities.
17      16. During answered phone calls from Defendant, Plaintiff has experienced a significant
18
     pause, lasting several seconds in length, before being connected with a live representative.
19
        17. Upon speaking with Defendant, Plaintiff was informed that Defendant is a debt collector
20
     attempting to collect upon the subject debt.
21

22      18. Plaintiff informed Defendant of his intent to file for bankruptcy and demanded that it stop

23   contacting him.

24      19. Furthermore, Plaintiff also provided Defendant with his bankruptcy counsel’s contact
25   information.
26
        20. Despite Plaintiff’s demands, Defendant continued to place phone calls to Plaintiff’s
27
     cellular phone seeking collection of the subject debt.
28
                                                        3
     Case 1:20-cv-00138-DAD-BAM Document 1 Filed 01/27/20 Page 4 of 10

 1       21. Plaintiff has received not less than 25 phone calls from Defendant since asking it to stop
 2   calling.
 3
         22. Moreover, on at least one occasion, Defendant mocked Plaintiff for his decision to file for
 4
     bankruptcy.
 5
         23. Frustrated over Defendant’s conduct, Plaintiff spoke with Wajda regarding his rights,
 6

 7    resulting in expenses.

 8       24. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

 9       25. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not
10
      limited to, invasion of privacy, aggravation that accompanies collection telephone calls, emotional
11
      distress, increased risk of personal injury resulting from the distraction caused by the never-ending
12
      calls, increased usage of his telephone services, loss of cellular phone capacity, diminished cellular
13
      phone functionality, decreased battery life on his cellular phone, and diminished space for data
14

15    storage on his cellular phone.

16                 COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
17       26. Plaintiff repeats and realleges paragraphs 1 through 25 as though full set forth herein.
18
         27. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.
19
         28. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly
20
     use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.
21

22       29. Defendant identifies itself as a debt collector, and is engaged in the business of collecting

23   or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed

24   or due to others.
25       30. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction
26
     due or asserted to be owed or due to another for personal, family, or household purposes.
27
                a. Violations of FDCPA §1692c and §1692d
28
                                                        4
     Case 1:20-cv-00138-DAD-BAM Document 1 Filed 01/27/20 Page 5 of 10

 1      31. The FDCPA, pursuant to 15 U.S.C. §1692c(a)(2), prohibits a debt collector from
 2   “communicat[ing] with a consumer in connection with the collection of a debt if the debt collector
 3
     knows the consumer is represented by an attorney…”
 4
        32. Defendant violated c(a)(2) when it continued to contact Plaintiff, despite having knowledge
 5
     that Plaintiff was represented by an attorney.
 6

 7      33. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

 8   any conduct the natural consequence of which is to harass, oppress, or abuse any person in

 9   connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to ring
10
     or engaging any person in telephone conversation repeatedly or continuously with intent to annoy,
11
     abuse, or harass any person at the called number.”
12
        34. Defendant violated §1692c(a)(1), d, and d(5) when it repeatedly called Plaintiff after being
13
     notified to stop. Defendant called Plaintiff at least 25 times after he demanded that it stop calling.
14

15   This repeated behavior of systematically calling Plaintiff’s phone in spite of his demands was

16   harassing and abusive. The frequency and nature of calls shows that Defendant willfully ignored
17   Plaintiff’s pleas with the goal of annoying and harassing him.
18
        35. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant
19
     knew that its conduct was inconvenient and harassing to Plaintiff.
20
        36. The FDCPA, pursuant to 15 U.S.C. §1692d(2), forbids “[t]the use of obscene language or
21

22   language the natural consequence of which is to abuse the hearer or reader.”

23      37. Defendant violated §1692d and d(2) when it mocked Plaintiff for his decision to file for

24   bankruptcy. Any reasonable fact finder will conclude that Defendant’s goal was to harass Plaintiff
25   in order to forcefully extract payment from him.
26
             b. Violations of FDCPA § 1692e
27

28
                                                        5
     Case 1:20-cv-00138-DAD-BAM Document 1 Filed 01/27/20 Page 6 of 10

 1      38. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any false,
 2   deceptive, or misleading representation or means in connection with the collection of any debt.”
 3
        39. In addition, this section enumerates specific violations, such as:
 4
                “The use of any false representation or deceptive means to collect or attempt to
 5              collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
                §1692e(10).
 6
        40. Defendant further violated §1692e and e(10) when it used deceptive means to collect and/or
 7

 8   attempt to collect the subject debt. In spite of the fact that Plaintiff demanded that Defendant stop

 9   contacting him, Defendant continued to contact him via automated calls. Instead of putting an end

10   to this harassing behavior, Defendant systematically placed calls to Plaintiff’s cellular phone in a
11   deceptive attempt to force him to answer its calls and ultimately make a payment. Through its
12
     conduct, Defendant misleadingly represented to Plaintiff that it had the legal ability to contact him
13
     via an automated system when it no longer had consent to do so.
14
             c. Violations of FDCPA § 1692f
15

16      41. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair or

17   unconscionable means to collect or attempt to collect any debt.”

18      42. Defendant further violated §1692f when it unfairly and unconscionably attempted to collect
19
     on a debt by continuously calling Plaintiff at least 25 times after being notified to stop. Attempting
20
     to coerce Plaintiff into payment by placing voluminous phone calls without his permission is unfair
21
     and unconscionable behavior. These means employed by Defendant only served to worry and
22
     confuse Plaintiff.
23

24      WHEREFORE, Plaintiff, MARK K. WELCH, respectfully requests that this Honorable Court

25   enter judgment in his favor as follows:
26      a. Declaring that the practices complained of herein are unlawful and violate the
           aforementioned bodies of law;
27

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                                                        6
     Case 1:20-cv-00138-DAD-BAM Document 1 Filed 01/27/20 Page 7 of 10

 1      b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
           §1692k(a)(2)(A);
 2

 3      c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
           under 15 U.S.C. §1692k(a)(1);
 4
        d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
 5         §1692k(a)(3);
 6      e. Enjoining Defendant from further contacting Plaintiff; and
 7
        f. Awarding any other relief as this Honorable Court deems just and appropriate.
 8
               COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
 9
        43. Plaintiff repeats and realleges paragraphs 1 through 42 as though fully set forth herein.
10

11      44. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

12   cellular phone using an automatic telephone dialing system (“ATDS”) or pre-recorded messages

13   without their consent. The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment
14   which has the capacity...to store or produce telephone numbers to be called, using a random or
15
     sequential number generator; and to dial such numbers.”
16
        45.    Defendant used an ATDS in connection with its communications directed towards
17
     Plaintiff’s cellular phone. The significant pause, lasting several seconds in length, which Plaintiff
18

19   has experienced during answered calls is instructive that an ATDS was being utilized to generate

20   the phone calls. Additionally, Defendant’s continued contacts to Plaintiff after he demanded that

21   the phone calls stop further demonstrates Defendant’s use of an ATDS. Moreover, the nature and
22
     frequency of Defendant’s contacts points to the involvement of an ATDS.
23
        46. Defendant violated the TCPA by placing at least 25 phone calls to Plaintiff’s cellular phone
24
     using an ATDS without his consent. Any consent that Plaintiff may have given to the originator of
25
     the subject debt, which Defendant will likely assert transferred down, was specifically revoked by
26
27   Plaintiff’s demands that it cease contacting him.

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                                                         7
     Case 1:20-cv-00138-DAD-BAM Document 1 Filed 01/27/20 Page 8 of 10

 1       47. The calls placed by Defendant to Plaintiff were regarding collection activity and not for
 2   emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).
 3
         48. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff for
 4
     at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA
 5
     should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise
 6

 7   entitled to under 47 U.S.C. § 227(b)(3)(C).

 8       WHEREFORE, Plaintiff, MARK K. WELCH, respectfully requests that this Honorable Court

 9   enter judgment in his favor as follows:
10
         a. Declaring that the practices complained of herein are unlawful and violate the
11          aforementioned statutes and regulations;

12       b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
            pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);
13
         c. Awarding Plaintiff costs and reasonable attorney fees;
14

15       d. Enjoining Defendant from further contacting Plaintiff; and

16       e. Awarding any other relief as this Honorable Court deems just and appropriate.
17         COUNT III – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
18       49. Plaintiff restates and realleges paragraphs 1 through 48 as though fully set forth herein.
19       50. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).
20
         51. The subject debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code § 1788.2(d)
21
     and (f).
22
         52. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
23

24
                a. Violations of RFDCPA § 1788.10 – 1788.17
25
         53. The RFDCPA, pursuant to Cal. Civ. Code § 1788.17 states that “Notwithstanding any other
26
     provision of this title, every debt collector collecting or attempting to collect a consumer debt shall
27

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                                                        8
     Case 1:20-cv-00138-DAD-BAM Document 1 Filed 01/27/20 Page 9 of 10

 1   comply with the provisions of Section 1692b to 1692j, inclusive of, and shall be subject to the
 2   remedies in Section 1692k of, Title 15 of the United States Code.”
 3
        54. As outlined above, through its continuous attempts to collect upon the subject debt,
 4
     Defendant violated 1788.17; and §§1692c, d, e, and f. Defendant engaged in a harassing, deceptive
 5
     and unconscionable campaign to collect from Plaintiff through the implicit misrepresentations
 6

 7   made on phone calls placed to Plaintiff’s cellular phone. Through its conduct, Defendant

 8   misleadingly represented to Plaintiff that it had the lawful ability to continue contacting his cellular

 9   phone using an automated system absent his consent. Such lawful ability was revoked upon
10
     Plaintiff demanding that Defendant stop calling his cellular phone, illustrating the deceptive nature
11
     of Defendant’s conduct. In violation of Plaintiff’s rights, Defendant continued contacting Plaintiff
12
     even after knowing that he was represented by an attorney.
13
        55. Defendant willfully and knowingly violated the RFDCPA through its egregious collection
14

15   efforts. Defendant’s willful and knowing violations of the RFDCPA should trigger this Honorable

16   Court’s ability to award Plaintiff statutory damages of up to $1,000.00, as provided under Cal. Civ.
17   Code § 1788.30(b).
18
        WHEREFORE, Plaintiff, MARK K. WELCH, respectfully requests that this Honorable Court
19
     enter judgment in his favor as follows:
20
        a. Declare that the practices complained of herein are unlawful and violate the aforementioned
21         statute;
22
        b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);
23
        c. Award Plaintiff statutory damages up to $1,000.00, pursuant to Cal. Civ. Code §
24         1788.30(b);
25      d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal. Civ. Code
26         § 1788.30(c);

27      e. Enjoining Defendant from further contacting Plaintiff; and

28      f. Award any other relief as the Honorable Court deems just and proper.
                                                    9
     Case 1:20-cv-00138-DAD-BAM Document 1 Filed 01/27/20 Page 10 of 10

 1

 2      Dated: January 27, 2020         Respectfully submitted,

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